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10                                   UNITED STATES DISTRICT COURT
11                                 NORTHERN DISTRICT OF CALIFORNIA
12                                       SAN FRANCISCO DIVISION
13
     UNITED STATES OF AMERICA,                         CASE NO. 3:23-CR-00247-CRB
14
             Plaintiff,                                UNITED STATES’ SENTENCING
15                                                     MEMORANDUM AND MOTION FOR JOINT
        v.                                             CHANGE OF PLEA AND SENTENCING
16
                                                       Date: August 30, 2023
17   ANDERSON JOSUE MEDINA,                            Time: 10:00 a.m.
                                                       Court: Hon. Charles R. Breyer
18           Defendant.
19

20                                            I.      OVERVIEW
21           The United States and the defendant, Anderson Josue Medina, jointly request that the Court
22 accept the proposed plea agreement under Federal Rule of Criminal Procedure 11(c)(1)(C). This case is

23 part of the United States Attorney’s Office’s efforts to disrupt the fentanyl and methamphetamine open-

24 air drug market that exists in San Francisco’s Tenderloin District (the Tenderloin) through a

25 combination of enforcement and dispositions that prevent drug traffickers from returning to the

26 Tenderloin. These efforts will occasionally take the form, as here, of prosecution of street-level dealing

27 where the defendant has limited criminal history, leading the United States to seek expedited

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 1 prosecution, obtain a federal conviction, and enforce a strict three-year stay-away order that immediately

 2 excludes convicted drug traffickers from returning to the Tenderloin and thus stops them from engaging

 3 in further drug trafficking. For the reasons set forth below, the United States and defendant believe that

 4 a below-Guidelines sentence—accounting for the time he already served in this expedited prosecution—

 5 alongside this geographical restriction meet the statutory requirements of Section 3553(a).

 6                 II.    MOTION FOR JOINT CHANGE OF PLEA AND SENTENCING

 7          To advance the goal of this accelerated disposition, the parties jointly move the Court to proceed

 8 to sentencing, without a presentence investigation report, during the same hearing as the defendant’s

 9 change of plea, or as shortly thereafter as is practicable. This will achieve the expedited proceeding

10 contemplated by both parties. The Court may sentence without a presentence investigation report if it

11 “finds that the information in the record enables it to meaningfully exercise its sentencing authority

12 under 18 U.S.C. § 3553” and “explains its finding on the record.” Fed. R. Crim. Proc. 32(c)(1)(A)(ii);

13 see also Fed. R. Crim. P. 32(b)(1), U.S.S.G. §6A1.1, Crim. Local Rule 32-1(b). The government

14 respectfully submits that the record here—the Criminal Complaint, the Plea Agreement, and any

15 sentencing memoranda, all detailing the defendant’s offense conduct and other factors relevant under

16 § 3553—enable the Court to meaningfully exercise its sentencing authority under § 3553 and proceed to

17 sentencing without the need for a presentence investigation report. The parties request that the Court

18 explain its findings and the sufficiency of the record at time of sentence.
19       III.     APPLICABLE GUIDELINES RANGE AND CRIMINAL HISTORY CATEGORY

20          The government calculates the following Guidelines range:

21          a.       Base Offense Level, U.S.S.G. §2D1.1(a)(5), (c)(8):                                     24
                     Defendant possessed between 100 and 400 KG of Converted Drug Weight 1
22
            b.       Acceptance of Responsibility, U.S.S.G. §3E1.1:                                         -3
23

24          c.       Adjusted Offense Level:                                                                21

25          The government calculates a Criminal History Category of I (0 points). 2

26          1
            See Addendum – Converted Drug Weight Table.
27          2
            The government has reviewed and produced in discovery the criminal history reports for the
   defendant available through CLETS. Those reports reflect a single arrest in San Francisco, on May 30,
28 2023, for drug trafficking offenses.
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 1          An Adjusted Offense Level of 21 and a Criminal History Category of I results in a Guidelines

 2 range of 37 to 46 months.

 3          The government also seeks a three-year term of supervised release (as required by statute) and

 4 imposition of the $100 mandatory special assessment.

 5                              IV.     SENTENCING RECOMMENDATION

 6          Consistent with the Plea Agreement in this case, the parties jointly request a sentence of time

 7 served and a three-year term of supervised release that includes a special condition that the defendant

 8 may not re-enter the Tenderloin during the period of supervised release. This stay-away condition is a

 9 critical component of the plea bargain because it prevents the defendant from returning to the Tenderloin

10 District, in which the defendant’s conviction for drug trafficking arose.

11          A.      Section 3553 Factors

12                  1. Nature and circumstances of the offense and history and characteristics of the
                       defendant
13
            The defendant is a 19-year-old male and citizen of Honduras. According to the Department of
14
     Homeland Security, the defendant lacks immigration status or is removable under U.S. immigration law
15
     or both. There is an immigration detainer in place such that the parties expect the defendant will be
16
     transferred to the custody of the Department of Homeland Security for removal proceedings following
17
     her release from the custody of the U.S. Marshals. To the government’s knowledge, the defendant has
18
     no prior criminal convictions, placing her in Criminal History Category I.
19
            The defendant engaged in open-air, street-level drug trafficking in the Tenderloin. He admitted
20
     that on August 2, 2023, at approximately 5:20 p.m., he was loitering near Mission Street and Eighth
21
     Street, in San Francisco, California. Law enforcement personnel, from a position of concealment,
22
     observed him wearing a black jacket, a black Oakland A’s beanie, and a dark gray backpack. He was
23
     standing next to Individual A. Officers and agents saw Medina complete several hand-to-hand drug
24
     transactions or distribute suspected narcotics to people on the streets. Meanwhile, Individual A handed
25
     drugs to Medina and received U.S. currency from him. At approximately 5:30 p.m., law enforcement
26
     personnel converged on the location where Individual A and Medina were loitering, identified
27
     themselves as law enforcement, and detained them both. In Medina’s possession, officers found about
28
                                               3
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 1 31.1 gross grams of suspected cocaine salt. In Individual A’s possession, officers found about 364 gross

 2 grams of suspected fentanyl divided in four separate baggies: 124, 69, 99, and 72 gross grams,

 3 respectively. Also in Individual A’s possession, officers found about 53 gross grams of cocaine base and

 4 58 gross grams of methamphetamine. Medina jointly possessed with Individual A the cocaine base and

 5 methamphetamine, with whom Medina was working to distribute drugs, and Medina jointly possessed

 6 those drugs with the intent to distribute them to others. 3

 7          After his arrest, the defendant agreed to remain in custody during the pendency of this case. He

 8 was arraigned on an information charging possession of cocaine base and methamphetamine. In the

 9 Plea Agreement, the defendant acknowledges that he knew the substances in his possession were

10 cocaine base and methamphetamine, and that he possessed the substances intending to distribute them to

11 other individuals. In his Plea Agreement, the defendant is pleading guilty to possessing

12 methamphetamine in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C) and acknowledges that a conviction in

13 this case “makes it practically inevitable and a virtual certainty that [he] will be removed or deported

14 from the United States.” Plea Agreement, ¶ 1.

15                  2. Need for the sentence to reflect the seriousness of the offense, to promote respect
                       for the law, and to provide just punishment; to afford adequate deterrence to
16                     criminal conduct; and to protect the public from further crimes of the defendant

17          The Tenderloin, defined in the Plea Agreement to include the historic Tenderloin District and

18 much of the South of Market neighborhood, is in crisis. As the Court is well aware, the proliferation of
19 highly addictive, potent, and inexpensive synthetic controlled substances like fentanyl and

20 methamphetamine has exacted a crushing human toll in the Tenderloin. The Tenderloin open-air drug

21 market not only creates suffering for its participants (including staggering amounts of overdoses and

22 fatalities) but also dire externalities for the people and families that live and work in the Tenderloin, as

23 well as for San Francisco itself. The effects of the defendant’s offense, considered as an individual act,

24 are destructive; the effects of the offense, considered in the aggregate, are catastrophic.

25          Unsurprisingly, given the relevant conduct and amount of controlled substances that the

26

27   3
     About 124 gross grams of suspected fentanyl seized from Individual A tested presumptive positive for
28 mannitol, which is a cutting agent for fentanyl. The remaining suspected fentanyl tested presumptive
   inconclusive for fentanyl.
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 1 defendant possessed, the adjusted Guidelines range for the defendant’s conduct is 37-46 months. The

 2 proposed sentence—of time served and a three-year term of supervised release with a highly restrictive

 3 geographic restriction should the defendant ever return to the Tenderloin—is a downward variance from

 4 the Guidelines range but one that the government submits is appropriate given the defendant’s conduct,

 5 the unique problem that the Tenderloin faces, and the need for deterrence and protection of the public.

 6          In order for the defendant to receive this plea offer, the defendant waived detention and has been in

 7 continuous custody since arrest; the government offered the defendant a time-served sentence in exchange

 8 for the defendant’s agreement to promptly plead guilty and proceed to sentencing (including waiving

 9 indictment) within weeks of arrest; the defendant also agreed to be subject to a three-year term of

10 supervised release that includes a strict stay-away condition from the Tenderloin. The defendant is on

11 notice that a return to the Tenderloin (in violation of the defendant’s supervised release terms) will invite

12 new charges or supervised release violations. This disposition results in a drug trafficking conviction

13 within weeks of arrest (not months or years), immediate separation of the defendant from the Tenderloin,

14 and prevention of the defendant from returning to the Tenderloin. The speed at which this case moved will

15 free up other government resources to prosecute additional federal crimes, including in the Tenderloin.

16          B.       The necessity of the proposed supervised release special conditions

17          A three-year term of supervised release is required by statute for the drug-trafficking offense to

18 which the defendant has agreed to plead guilty, 21 U.S.C. § 841(a)(1)(C), and it is essential to this
19 disposition. In particular, the special stay-away condition of release allows the government to accomplish

20 one of its primary goals related to protection of the public: to immediately separate drug traffickers from

21 the Tenderloin (given the defendant has remained in custody from the time of arrest) and to effect a strict

22 stay-away from the Tenderloin for three years. Under the terms of supervised release as contemplated

23 herein, not only will the defendant be prohibited from engaging in any further unlawful conduct, but the

24 defendant will be prohibited from entering the Tenderloin without prior approval by U.S. Probation:

25          Unless authorized by U.S. Probation, the defendant shall neither enter nor be present in
            the area in San Francisco bordered on the west by Van Ness Avenue, on the north by
26          Geary Street, on the east by Powell Street and 3rd Street, and on the south by Howard
            Street.
27
     Combined with a suspicionless search condition, to which the parties have also agreed, Section
28
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 1 3553(a)’s goals of protection of the public and meaningful deterrence will be significantly advanced by

 2 the terms of this agreement, and this prosecution’s impact on illicit drug trafficking in the Tenderloin

 3 will be both immediate and sustained. This stay-away condition is also necessary given the particular

 4 circumstances of Tenderloin drug trafficking, where the Court has repeatedly encountered recidivism

 5 from previously sentenced defendants, including those who have been removed from the country but

 6 who nonetheless returned to sell controlled substances in the Tenderloin. See, e.g., United States v. Luis

 7 Almicar Erazo-Centeno, 3:23-cr-00002-CRB; United States v. Gamez-Arguilio, 3:17-CR-00553-CRB.

 8          On the facts of this particular case, under the § 3553(a) factors and given the provisions of the

 9 Plea Agreement, the government respectfully submits that the contemplated disposition here is sufficient

10 but not greater than necessary to accomplish the goals of § 3553(a).

11                                           V.      CONCLUSION

12          For these reasons, the government recommends that the Court sentence the defendant to a

13 sentence of time served, to be followed by a term of supervised release of three years and the special

14 conditions agreed to by the parties in the Plea Agreement, including the stay-away condition.

15

16 DATED: August 29, 2023                                         Respectfully Submitted,

17
                                                                  ISMAIL J. RAMSEY
18                                                                United States Attorney
19

20                                                                    /s/
                                                                  JOSEPH TARTAKOVSKY
21                                                                Assistant United States Attorney

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 1                       ADDENDUM – CONVERTED DRUG WEIGHT TABLE 4

 2
     Substance          Amount Possessed by Defendant   Conversion             Converted Drug Weight (CDW)
 3   Cocaine base       84.1 grams                      1 gram = 200 grams 5   16.82 kilograms
     Methamphetamine    58 grams                        1 gram = 2 kilograms   116 kilograms
 4   Total              -                               -                      132.82 kilograms

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26          See §2D1.1, Application Note 8(D).
           5
            Pursuant to the Attorney General’s December 16, 2022, memorandum, Additional Department
27 Policies Regarding Charging, Pleas, and Sentencing in Drug Cases, the government recommends that
   the converted drug weight for the cocaine base be determined by reference to the conversion rate for
28 powder cocaine. Either way, whether calculated as cocaine or cocaine base, the CDW remains the same.
                                               7
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